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                                                                        Honorable Robert S. Lasnik




                                       UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON AT SEATTLE

  ME2 PRODUCTIONS, INC.,                               Civil Action No. 17-cv-694RSL

                                    Plaintiff,         STIPULATION OF DISMISSAL OF JOHN
                                                       BOYD (DOE 10)
               v.

  MADALYNN ALEXANDER, an individual;
  JAMES STEWART, an individual;
  ANNA TYSELING, an individual;
  KYLE FELLERS, an individual;
  DMITRIY MIRONENKO, an individual;
  ARTHUR DYACHK, and individual;
  ARIELLE RADELET, an individual;
  JOHN BOYD, an individual;
  LEXUS VANG, an individual;
  MARIA NARANJO, an individual; and
  MICHAEL ORME, an individual,

                                    Defendants.

            Pursuant to Rule 41(a)(1)(A)(ii) and according to the terms of a Confidential Settlement

Agreement wherein Defendant agreed to (a) cease directly, contributorily or indirectly infringing

Plaintiff’s rights in its valid and enforceable copyrighted work Mechanic: Resurrection, Copyright

Registration No. PA 1-998-057, including without limitation by using the Internet to reproduce,

copy, distribute or to make the motion picture available for distribution to the public, except

pursuant to a lawful written license from Plaintiff; and (b) destroy all unauthorized copies or parts

thereof of Mechanic: Resurrection in its possession or subject to Defendant’s control, including

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without limitation any downloaded onto any computer hard drive or server or otherwise saved onto

any physical medium or device, without Plaintiff’s authorization, Plaintiff hereby dismisses its

claims against Defendant with each side bearing its own fees and costs.

 s/ David A. Lowe, WSBA No. 24,453               s/Benjamin Justus, WSBA No. 38,855
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